         Case 19-31515-SLM        Doc 5     Filed 11/14/19 Entered 11/14/19 17:07:42                  Desc Main
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UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEW JERSEY
Caption in Compliance with D.N.J. LBR 9004-2(c)
____________________________________________
Javier L. Merino
DannLaw
372 Kinderkamack Road, Suite 5
Westwood, NJ 07675
Phone: 216-373-0539
Fax: 216-373-0536
notices@dannlaw.com
                                                                Case No.:             19-31515
                                                                                ____________________
In Re:
Richard Paliotta, Jr.                                           Chapter:                 13
                                                                                ____________________

                                                                Judge:                 Meisel
                                                                                ____________________



                 NOTICE OF REQUEST FOR LOSS MITIGATION – BY THE DEBTOR


   I am/ We are the debtor(s) in this case and hereby request loss mitigation with respect to:

                                       907 Hammond Road, Ridgewood, NJ 07450
   Property address: __________________________________________________________________________

   Creditor is the holder of:  first mortgage or  second mortgage.

   I/We will make adequate protection payments to the above creditor each month in the following amount during
   the loss mitigation period: See Loss Mitigation Program and Procedures, Section V.A.1.a and VII.B.

               Specialized Loan Services
   Creditor _____________________________              3,805.00
                                          Amount: $ ______________              12/1/2019
                                                                   Due date: _______________

    I/We request to be excused from using the Loss Mitigation Portal due to undue hardship as set forth in detail
   below:




   I understand that if the court orders loss mitigation in this case I am required to comply with the Loss Mitigation
   Program and Procedures and will participate in good faith. I understand that Loss Mitigation is voluntary, and
   that I am not required to enter into any agreement or settlement with any other party as part of this Loss
   Mitigation, and understand that no other party is required to enter into any agreement or settlement with me. I
   also understand that I am not required to request dismissal of this case as part of any resolution or settlement
   that is offered or agreed to during the Loss Mitigation Period. I also certify that the property in question
   consists only of real property in which I hold an interest used as a principal residence.
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      11/14/2019
Date: ______________________                              /s/ Richard Paliotta, Jr.
                                                          __________________________________
                                                          Debtor

Date: ______________________                              __________________________________
                                                          Joint Debtor (if any)


Debtor Information:

                 Richard Paliotta, Jr.
Print full name: ______________________________________________________________________
                 907 Hammond Road, Ridgewood, NJ 07450
Mailing address: _____________________________________________________________________
                  201-468-1176
Telephone number: ___________________________________________________________________
                        richpal68@gmail.com
Email address (if any): ________________________________________________________________


Debtor’s Attorney Information:

      Javier L. Merino
Name: _____________________________________________________________________________
         DannLaw, 1 Meadowlands Plaza, Suite 200, East Rutherford, NJ 07073
Address: ___________________________________________________________________________

                  216-373-0539
Telephone number: _________________________             216-373-0536
                                            Fax number: ______________________________
                        notices@dannlaw.com
Email address (if any): ________________________________________________________________


Creditor Information: (if known)

      Specialized Loan Servicing
Name: _____________________________________________________________________________
         8742 Lucent Blvd., Suite 300, Highlands Ranch CO 80129
Address: ___________________________________________________________________________
                  800-315-4757
Telephone number: _________________________ Fax number: ______________________________
Email address (if any): ________________________________________________________________


Creditor’s Attorney Information: (if known)

      KML Law Group P.C.
Name: _____________________________________________________________________________
         216 Haddon Avenue, Suite 406, Westmont, NJ 08108
Address: ___________________________________________________________________________
                  215-627-1322
Telephone number: _________________________             215-627-7734
                                            Fax number: ______________________________

Email address (if any): ________________________________________________________________


Pursuant to Section V.A.1.a. of the Loss Mitigation Program and Procedures, the above named creditor
has 14 days to file with the court, and serve on the debtor, debtor’s attorney and trustee, an objection to
this Request.
                                                                                                 Revised 9/19/13


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